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                                                              Wednesday, 07 February, 2018 10:47:33 PM
                                                                          Clerk, U.S. District Court, ILCD
                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                    URBANA DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
        Plaintiff,                          )
                                            )
vs.                                         )
                                            )
BRENDT A. CHRISTENSEN,                      )
                                            )
        Defendant.                          )        Case No. 17-20037

                       ADDENDUM TO MEMORANDUM IN SUPPORT
                          OF PROPOSED SCHEDULING ORDER

        Counsel for Defendant Brendt Christensen submits the following Addendum to the

Memorandum in Support of Proposed Scheduling Order filed as Docket Number 59:

        1.       On February 1, 2018, this Court ordered the parties to file a document

containing a proposed start date for trial and an estimate as to how long said trial will

take. (Text Order 02/01/2018)

        2.       On today’s date, Mr. Christensen filed his Memorandum in Support of a

Proposed Scheduling Order, Docket Number 59, with a proposed trial date of June 18,

2019.

        3.       The Government filed a Response to the Court’s Order requesting a trial

date of October 16, 2018, and estimating that the guilt phase of trial may take two weeks

and the penalty phase, if necessary, may take three weeks. (R. 58)

        4.       The defense has no reason to question the Government’s estimate as to how

long its case-in-chief will take. With due respect to the Court’s Order, for the reasons set

forth in the Memorandum in Support of the Proposed Scheduling Order, Mr. Christensen

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cannot at this time provide an informed estimate of the length of the defense guilt case-in-

chief nor the penalty phase, if any, will take.

                                    Respectfully submitted,

                                    BRENDT A. CHRISTENSEN, Defendant

By:    /s/Elisabeth R. Pollock                         /s/ George Taseff
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                               CERTIFICATE OF SERVICE

      I hereby certify that on February 7, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to

Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy was also

mailed to the defendant.

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